             Case 3:07-cv-05944-JST Document 3377 Filed 01/13/15 Page 1 of 3



 1   Michael P. Kenny, Esq. (admitted pro hac vice)
     mike.kenny@alston.com
 2   Debra D. Bernstein, Esq. (admitted pro hac vice)
 3   debra.bernstein@alston.com
     Matthew D. Kent, Esq. (admitted pro hac vice)
 4   matthew.kent@alston.com
     ALSTON & BIRD LLP
 5   1201 West Peachtree Street
     Atlanta, Georgia 30309-3424
 6   Tel: (404) 881-7000
 7   Facsimile: (404) 881-7777
     James M. Wagstaffe, Esq. (SBN 95535)
 8   wagstaffe@kerrwagstaffe.com
 9   KERR & WAGSTAFFE LLP
     101 Mission Street, 18th Floor
10   San Francisco, California 94105-1576
     Tel: (415) 371-8500
11   Facsimile: (415) 371-0500
12   Attorneys for Plaintiffs Dell Inc. and Dell Products L.P.

13   [Additional Counsel Listed on Accompanying Motion]
14                                 UNITED STATES DISTRICT COURT
15                               NORTHERN DISTRICT OF CALIFORNIA
16                                     SAN FRANCISCO DIVISION

17
     In re: CATHODE RAY TUBE (CRT)
18   ANTITRUST LITIGATION                                          Master File No. 3:07-cv-05944-SC

19                                                                 MDL No. 1917
     This Document Relates to:                                                      Denying as moot
20                                                                 [PROPOSED] ORDER GRANTING
     Electrograph Sys. v. Hitachi, Ltd., No. 11-cv-01656;          PLAINTIFFS’ ADMINISTRATIVE
21                                                                 MOTION PURSUANT TO L.R. 7-11
     Electrograph Sys., Inc. v. Technicolor SA, No. 13-cv-         FOR EXCESS PAGES
22   05724;

23   Siegel v. Hitachi, Ltd., No. 11-cv-05502;                     Judge: Hon. Samuel Conti
24
     Siegel v. Technicolor SA, No. 13-cv-05261;
25
     Best Buy Co. v. Hitachi, Ltd., No. 11-cv-05513;
26
     Best Buy Co. v. Technicolor SA, No. 13-cv-05264;
27
     Interbond Corp. of Am. v. Hitachi, Ltd., No. 11-cv-
28

     [PROPOSED] ORDER RE PLAINTIFFS’ ADMIN.                                MASTER FILE NO. 3:07-CV-05944-SC
     MOTION FOR EXCESS PAGES                                     MDL NO. 1917 │ IND. CASE NO. 3:13-cv-02171-SC
              Case 3:07-cv-05944-JST Document 3377 Filed 01/13/15 Page 2 of 3



 1   06275;
 2   Interbond Corp. of Am. v. Technicolor SA., No. 13-cv-
 3   05727;

 4   Office Depot, Inc. v. Hitachi Ltd., No. 11-cv-06276;

 5   CompuCom Sys., Inc. v. Hitachi, Ltd., No. 11-cv-06396;
 6
     P.C. Richard & Son Long Island Corp. v. Hitachi, Ltd.,
 7   No. 12-cv-02648;

 8   P.C. Richard & Son Long Island Corp. v. Technicolor
     SA., No. 13-cv-05725;
 9
     Schultze Agency Servs., LLC v. Hitachi, Ltd., No. 12-cv-
10
     02649;
11
     Tech Data Corp. v. Hitachi, Ltd., No. 13-cv-00157;
12
     Dell Inc. and Dell Products L.P., v. Hitachi, Ltd., No.
13   13-cv-02171;
14
     Sears, Roebuck and Co. and Kmart Corp. v. Technicolor
15   SA, No. 13-cv-05262;

16   Sears, Roebuck and Co. and Kmart Corp. v. Chunghwa
     Picture Tubes, Ltd., No. 11-cv-05514;
17
     Sharp Elecs. Corp. v. Hitachi, Ltd., No. 13-cv-1173 SC;
18

19   Sharp Elecs. Corp. v. Koninklijke Philips Elecs., N.V.,
     No. 13-cv-2776 SC;
20
     ViewSonic Corp. v. Chunghwa Picture Tubes, Ltd., No.
21   14-02510;
22
     All Indirect Purchaser Actions.
23

24

25

26

27

28
                                                        2
     [PROPOSED] ORDER RE PLAINTIFFS’ ADMIN.                               MASTER FILE NO. 3:07-CV-05944-SC
     MOTION FOR EXCESS PAGES                                    MDL NO. 1917 │ IND. CASE NO. 3:13-cv-02171-SC
             Case 3:07-cv-05944-JST Document 3377 Filed 01/13/15 Page 3 of 3



 1                                         [PROPOSED] ORDER
 2          Upon consideration of the Plaintiffs’ Administrative Motion Pursuant to L.R. 7-11 for Leave
 3   for Excess Pages (“Administrative Motion”), it is hereby:
                                                         Denied as moot
 4          ORDERED that the Administrative Motion is GRANTED; and it is further
 5          ORDERED that Plaintiffs shall file a single, consolidated Opposition not to exceed thirty-five
 6   (35) pages to the (1) Koninklijke Philips N.V. Motion for Summary Judgment (MDL Dkt. #3040); and
 7   Philips Electronics North America Corporation, Philips Taiwan Limited, and Philips Do Brasil Ltda.’s
 8   Motion for Partial Summary Judgment (MDL Dkt. #3027).
 9

10   Dated: January   13, 2015 2014
            ___________________,
11

12

13                                                 The Honorable Samuel Conti
                                                   Northern District of California
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                       3
     [PROPOSED] ORDER RE PLAINTIFFS’ ADMIN.                                MASTER FILE NO. 3:07-CV-05944-SC
     MOTION FOR EXCESS PAGES                                     MDL NO. 1917 │ IND. CASE NO. 3:13-cv-02171-SC
